                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

LIBERTY MUTUAL INSURANCE              )
COMPANY,                              )
                                      )
                 Plaintiff            )
                                      )                         Case No. 1:09-CV-271
v.                                    )
                                      )                         Chief Judge Curtis L. Collier
A STAFFING KOMPANY, INC., APPS, INC., )
JERRY SCHEIB, LORETTA SCHEIB,         )
and DORIS BURNS,                      )
                                      )
                 Defendants.          )

                                               ORDER

        On March 10, 2010, the Court observed it had no record that process had been served on

defendants A Staffing Kompany, Inc., APPS, Inc., Jerry Scheib, or Loretta Scheib (Court File No.

6). Accordingly, the Court ordered Plaintiff Liberty Mutual Insurance Company (“Plaintiff”) to

show cause within ten days why this action should not be dismissed as to these defendants pursuant

to Fed. R. Civ. P. 4(m).

        On March 18, 2010, Plaintiff filed a response to the order to show cause (Court File No. 7).

As to the corporate defendants, Plaintiff moved that A Staffing Kompany, Inc., and APPS, Inc., be

dismissed without prejudice from the case pursuant to Rule 41(a)(1). The Court will grant this

motion.

        As to individual defendant Loretta Scheib, a/k/a Loretta Hart, Plaintiff alleged evidence of

service of process was filed with the Court on December 17, 2009. As the Court stated in its March

10, 2010 Order, the Court has no record of this service. Plaintiff further alleges that Ms. Scheib filed

for bankruptcy in the United States Bankruptcy Court for the Eastern District of Tennessee. Plaintiff

asks the Court to stay this action as to this defendant until the resolution of those proceedings.



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       This Court will deny this motion. The Court will not grant a stay until there is at least record

of service of process and Ms. Scheib has an opportunity to respond to Plaintiff’s motion. To do

otherwise would deprive Ms. Scheib of notice of this case and an opportunity to argue that a stay

would be improper. Therefore, as ordered previously, Plaintiff must either complete service or show

cause within ten days why Ms. Scheib should not be dismissed from this case pursuant to Rule 4(m).

       Finally, as to individual defendant Jerry Scheib, Plaintiff states he has been unable to locate

Mr. Scheib. Plaintiff requests additional time in which to locate and serve Mr. Scheib. The Court

will grant this motion.

       Accordingly, the Court ORDERS the following:

       1) Defendants A Staffing Kompany, Inc., and APPS, Inc., are DISMISSED WITHOUT

PREJUDICE pursuant to Rule 41(a)(1);

       2) Plaintiff is ORDERED to show cause within ten days of the entry of this order why the

action should not be dismissed as to defendant Loretta Scheib pursuant to Rule 4(m); and

       3) Plaintiff shall have an additional thirty days from the entry of this order to serve defendant

Mr. Scheib or show cause why he should not be dismissed pursuant to Rule 4(m).

       SO ORDERED.

       ENTER:



                                               /s/
                                               CURTIS L. COLLIER
                                               CHIEF UNITED STATES DISTRICT JUDGE




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